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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
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 7   UNITED STATES OF AMERICA,
                                                   NO: 2:13-CR-0024-TOR-1
 8                             Plaintiff,
                                                   ORDER GRANTING DEFENDANT’S
 9         v.                                      MOTION TO MODIFY CONDITIONS
                                                   OF RELEASE
10   RHONDA FIRESTACK-HARVEY,

11                             Defendant.

12         BEFORE THE COURT are Defendant’s Motion for Permission to Travel to

13   Alaska (ECF No. 662) and Motion to Expedite (ECF No. 663). The motions were

14   submitted for consideration without oral argument. The Court has reviewed the

15   motions and the file therein and is fully informed.

16         On March 3, 2015, Defendant was found guilty by jury verdict of one count

17   of manufacturing marijuana. At the conclusion of the trial, this Court allowed the

18   Defendant to remain released on conditions pending the sentencing hearing

19   scheduled for June 10, 2015. Pursuant to those conditions of release, Defendant is

20   not allowed to travel outside the Eastern District of Washington without advance


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 1   permission from the Court or the United States Probation Office. Defendant now

 2   seeks the Court’s permission to travel to Yakutat, Alaska to accompany her

 3   terminally ill husband to visit family. The Defendant has previously been granted

 4   permission to travel during the pendency of this matter and has otherwise abided

 5   by the conditions of her release. The United States Probation Officer has been

 6   contacted and does not oppose the request. In her motion, the Defendant notes that

 7   the government is opposed to the requested travel. The Court finds that good cause

 8   exists to modify Defendant’s conditions of release and allow her to travel to

 9   Yakutat, Alaska.

10         ACCORDINGLY, IT IS HEREBY ORDERED:

11         1. Defendant’s Motion to Modify Conditions of Release (ECF No. 662) is

12            GRANTED.

13         2. Defendant’s Motion to Expedite (ECF No. 663) is GRANTED.

14         3. Defendant is permitted to travel between Spokane, Washington and

15            Yakutat, Alaska between May 21 and May 31, 2015. Defendant shall

16            notify the U.S. Probation Office of her travel plans 72 hours prior to

17            departure and immediately upon return to the Eastern District of

18            Washington.

19         4. All other terms and conditions of Defendant’s probation remain in effect.

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 1         The District Court Executive is hereby directed to enter this Order and

 2   furnish copies to counsel.

 3         DATED May 13, 2015.

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 5                                   THOMAS O. RICE
                                  United States District Judge
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     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
     OF RELEASE ~ 3
